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FH£D 51 _M__Dfl
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TEN'NESSEE
WESTERN DIVISION

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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04-20434-Ma

VS.

ALEX MUNOZ ,

-._/-_/~_r-_¢-.dw-._,~_/~_r

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELA'Y

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., with a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period fron1 May Bl, 2005 through, July l5, 2005 is
excludable under 18 U.S.C. § Blél(h)(B)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this |3 P<~ day of June, 2005.

JJ(//Wzmr.

SAMUEL H. MAYS, JR.
UNITED STA'I‘ES DISTRICT JUDGE

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with Ru|e 55 andfor 32(!:)) FHCrP on Q-' /fg/ 5

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Honorable Samuel Mays
US DISTRICT COURT

